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              IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

WALTER PETTAWAY, as Administrator )
of the Estate of Joseph Lee Pettaway, )
deceased,                             )
                                      )
     Plaintiff,                       )
                                      )
v.                                    )
                                      )          CASE NO. 2:19-cv-8-JTA
                                      )
CPL. NICHOLAS D. BARBER and           )
SGT. MICHAEL D. GREEN,                )
                                      )
     Defendants.                      )

                                     ORDER

      This matter is before the court on Plaintiff’s Motion to Strike the Designation

of “Confidential” for Nicholas Barber’s Body Cam Recording (Doc. No. 109) and

Plaintiff’s Motion to File Under Seal (Doc. No. 110). Accordingly, it is

      ORDERED that on or before September 25, 2020, the defendants shall show

cause in writing why the plaintiff’s motions should not be granted.

      DONE this 16th day of September, 2020.



                                /s/ Jerusha T. Adams
                                JERUSHA T. ADAMS
                                UNITED STATES MAGISTRATE JUDGE
